                 IN THE COURT OF APPEALS OF NORTH CAROLINA

                                         No. COA19-1132

                                        Filed: 7 July 2020

Cumberland County, No. 19 JA 187

IN RE: M.H.

      Appeal by Respondent from orders entered 16 July 2019 and 9 September 2019

by Judge Tiffany M. Whitfield in Cumberland County District Court. Heard in the

Court of Appeals 10 June 2020.


      Cumberland County Department of Social Services, by Michael A. Simmons,
      for the Petitioner.

      Leslie Rawls for the Respondent.

      Parker Poe Adams &amp; Bernstein LLP, by Stacy S. Little, for the Guardian ad
      Litem.


      BROOK, Judge.


      Olivia Howard (“Respondent”) appeals from orders adjudicating her minor

child dependent. We reverse the trial court’s adjudication of dependence.

                            I. Factual and Procedural Background

      Near the end of March 2019, about a month before Madeline1 was born,

Respondent contacted Laquanda Henry, her friend of over thirty years and the

daughter of her godparents, to inquire about an alternative child care arrangement



      1   We refer to the child by this pseudonym to protect her privacy.
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                                   Opinion of the Court



for Madeline after she was born. Respondent reached out to Ms. Henry because

Respondent and her husband had a history with the Cumberland County Department

of Social Services (“the Department”). Two of Respondent’s children were in the

Department’s custody at that time. Ms. Henry agreed to take care of Madeline “if

anything happen[ed]” because of the Department’s involvement with Respondent’s

family, volunteering to share her home with both Respondent and Madeline for “[a]s

long as she needs to until she gets on her feet.”

      Madeline was born on 28 April 2019. Two days later, while she was still in the

hospital, the Department received a Child Protective Services (“CPS”) referral

concerning her safety.

      On 10 May 2019, the Department filed a petition alleging that Madeline was

abused and neglected. Specifically, the Department alleged that Respondent had

failed to correct the conditions that gave rise to the adjudications of neglect of

Respondent’s other children and that Respondent continued to lack employment and

stable housing, having only lived at her current place of abode “for a brief period.”

Madeline’s older siblings had been adjudicated neglected the previous November

based on domestic violence and unstable housing in Respondent’s household when

she was still living with her husband. Although Respondent was no longer living

with her husband in May of 2019, the Department sought custody of Madeline upon

her release from the hospital. The trial court did not grant this request, however.



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      The Department’s petition came on for adjudication before the Honorable

Tiffany M. Whitfield in Cumberland County District Court on 16 July 2019. At the

adjudication hearing, Respondent elected not to testify, but noted her objection to any

suggestion that her living situation with Ms. Henry was unstable. Regarding the

stability of Respondent’s housing, Ms. Henry testified that Respondent and Madeline

were “more than welcome” to live in her home in Fayetteville; that she had been living

there for about three years; and that while Respondent was not on the lease, “If I

have to put [Respondent] on my lease it wouldn’t be a problem.” “I think she would

be more than welcome,” Ms. Henry added.

      In an order entered on 6 August 2019, the trial court dismissed the allegations

of neglect but adjudicated Madeline dependent based on Respondent’s lack of

employment and stable housing. The court denied the Department’s request for

custody of Madeline, however, ordering that legal and physical custody of Madeline

remain with Respondent until the disposition hearing.

      The matter came on for disposition on 13 August 2019. Social Worker Anne

Saleeby testified that Madeline had been doing very well since the adjudication

hearing. Social Worker Saleeby testified further that Madeline had received all

appropriate medical and other care since the adjudication hearing and that

Respondent and Ms. Henry had all the necessary baby items for Madeline in the

home, including adequate food and clothing. Ms. Saleeby reported that she had no



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concerns about Respondent’s interactions with Madeline, and denied that

Respondent’s housing was unstable, testifying that there had not been any indication

that Respondent would not be able to continue living with Ms. Henry for an extended

period of time. While noting that Respondent’s lack of employment was a source of

concern, Ms. Saleeby testified that Respondent’s lack of income had not affected her

ability to provide for Madeline because of assistance she had been receiving from

family and friends.

      Following the dispositional hearing, the trial court entered an order on 9

September 2019 maintaining physical and legal custody of Madeline with Respondent

and determining that continuing to live with Respondent was in the best interests of

Madeline. The trial court’s dispositional order incorporated the prior adjudication of

dependence of Madeline.

      Respondent entered timely notice of appeal.

                                     II. Analysis

      On appeal, Respondent contends that the trial court erred in adjudicating

Madeline dependent because Respondent had adequate resources to care for

Madeline and Madeline was flourishing in her mother’s care. We hold that the trial

court erred in adjudicating Madeline dependent.

                                    A. Overview

             The first stage [of a juvenile abuse, neglect, and
             dependency case] is the adjudicatory hearing. If [the


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             Department] presents clear and convincing evidence of the
             allegations in the petition, the trial court will adjudicate
             the child as an abused, neglected, or dependent juvenile. If
             the allegations in the petition are not proven, the trial
             court will dismiss the petition with prejudice and, if the
             juvenile is in [the Department’s] custody, return[] the
             juvenile to the parents.

In re A.K., 360 N.C. 449, 454-55, 628 S.E.2d 753, 757 (2006) (internal citations

omitted).

             Immediately following adjudication, the trial court must
             conduct a dispositional hearing. At the hearing, the trial
             court receives evidence and enters a written order
             specifying an appropriate plan to meet the needs of the
             juvenile. If the trial court finds it is in the juvenile’s best
             interests, it may place the juvenile in out-of-home care. If
             custody of the child is removed from the parent, the trial
             court must hold a custody review hearing within ninety
             days and then again within six months.

Id. at 455, 628 S.E.2d at 757 (internal citations omitted).

                                B. Standard of Review

      We review an adjudication under N.C. Gen. Stat. § 7B-807 to determine

whether the trial court’s findings of fact are supported by “clear and convincing

competent evidence” and whether the court’s findings support its conclusions of law.

In re Helms, 127 N.C. App. 505, 511, 491 S.E.2d 672, 676 (1997). The “clear and

convincing” standard “is greater than the preponderance of the evidence standard

required in most civil cases.” In re Smith, 146 N.C. App. 302, 304, 552 S.E.2d 184,

186 (2001) (citation and marks omitted). Clear and convincing evidence is “evidence



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which should fully convince.” Id. (citation and marks omitted). Whether a child is

dependent is a conclusion of law, see In re V.B., 239 N.C. App. 340, 341, 768 S.E.2d

867, 868 (2015), and we review a trial court’s conclusions of law de novo, In re J.S.L.,

177 N.C. App. 151, 154, 628 S.E.2d 387, 389 (2006).

                                      C. Dependence

       North Carolina General Statutes § 7B-101(9) defines a dependent juvenile in

relevant part as “[a] juvenile in need of assistance or placement because . . . the

juvenile’s parent, guardian, or custodian is unable to provide for the juvenile’s care

or supervision and lacks an appropriate alternative child care arrangement.” N.C.

Gen. Stat. § 7B-101(9) (2019). “Under this definition, the trial court must address

both (1) the parent’s ability to provide care or supervision, and (2) the availability to

the parent of alternative child care arrangements.” In re P.M., 169 N.C. App. 423,

427, 610 S.E.2d 403, 406 (2005). “Findings of fact addressing both prongs must be

made before a juvenile may be adjudicated as dependent, and the court’s failure to

make these findings will result in reversal of the court.” In re B.M., 183 N.C. App.

84, 90, 643 S.E.2d 644, 648 (2007). While “it has been consistently held that in order

for a parent to have an appropriate alternative child care arrangement, the parent

must have taken some action to identify viable alternatives[,]” In re C.B., 245 N.C.

App. 197, 211, 783 S.E.2d 206, 216 (2016) (internal marks and citation omitted),

“[w]here . . . the . . . findings of fact indicate that the juveniles are living with a parent



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                                  Opinion of the Court



who is willing and able to provide for their care and supervision, the juveniles simply

cannot be adjudicated dependent[,]” In re H.H., 237 N.C. App. 431, 439, 767 S.E.2d

347, 352 (2014).

                   D. The Adjudicatory and Dispositional Orders

      In the adjudicatory order dated 16 July 2019, the trial court found in relevant

part as follows:

             14. That the [Department], the Guardian ad Litem, and
             Respondent Mother made certain admissions of fact after
             having ample opportunity to consult with their respective
             counsel. That a written copy of those admissions was
             tendered to the Court. Respondent Father did not sign the
             stipulation; however, he agreed to the allegations as read
             into the record. Respondent Mother did not agree with the
             unstable housing allegation. That those admissions are as
             follows:

                    a. The [Department] . . . received a Child Protective
                    Services (CPS) referral on 04/30/2019 concerning
                    the safety of the juvenile.

                    ...

                    f. Respondent Mother is currently unemployed.

                    g. Amended: Respondent Mother does not have
                    stable housing. Respondent Mother is living with a
                    friend; however, Respondent Mother is not a lawful
                    occupant on the lease for the premise [sic].

                    h. Amended: The child was born [sic] has been
                    hospitalized since her birth with medical issues
                    unrelated to Respondent Mother’s pregnancy. The
                    child will be released from the hospital on May 11,
                    2019.


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15. That the Court made the additional findings of fact by
clear, cogent, and convincing evidence as it relates to the
verified Petition filed on May 10, 2019 BASED ON sworn
testimony provided before the Court on today’s date and
documentary evidence submitted to the Court on today’s
date:

      ...

      d. Respondent Mother does not have stable housing
      and was living with a friend. However, Respondent
      Mother was not lawfully on the premises as she is not
      listed on the occupant’s lease.

      e. The child was born [sic] has been hospitalized since
      her birth with medical issues unrelated to
      Respondent Mother’s pregnancy. Respondent Mother
      was acting accordingly with getting that medical
      treatment for the juvenile after her birth.

      f. Respondent Mother is unemployed. Respondent
      Father was also unemployed at the filing of the
      petition due to his incarceration.

...

17. Based on the foregoing findings of fact, the Court finds
that the competent evidence presented and admitted
supports a finding that the juvenile was dependent, within
the meaning of N.C. Gen. Stat. § 7B-101(9), in that at the
time of the filing of the Petition, the juvenile’s parent,
guardian, or custodian is unable to provide for the care or
supervision of the juvenile and lacks an appropriate
alternative child care arrangement because at the time of
the filing of the petition Respondent Parents did not have
suitable and stable housing for the juvenile inasmuch as
she was residing with a friend but is not lawfully on the
lease. Respondent Father . . . was incarcerated at the time.



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                                  Opinion of the Court



             Therefore, the Court finds that the juvenile is a dependent
             juvenile.

(Emphasis in original.)

      The trial court then in its 9 September 2019 dispositional order found in

relevant part as follows:

             3. That the Court entered an order on July 16, 2019
             adjudicating the juvenile dependent. Said Order being
             filed on August 6, 2019. The Court incorporates the
             findings from that order as if fully set forth herein.

             ...

             6. That among the issues which led to the removal of the
             juvenile from the home were the following: Respondent
             Parents did not have suitable and stable housing for the
             juvenile inasmuch as she was residing with a friend but is
             not lawfully on the lease. Respondent Father . . . was
             incarcerated at the time.

             ...

             10. The juvenile was last seen by the Social Worker on
             August 5, 2019. The juvenile appeared to be physically fit
             and emotionally well.

             11. The juvenile is three (3) months old. That the juvenile
             receives [her] routine medical care from KidzCare
             Pediatrics. The juvenile is up to date on all immunizations.
             There are no concerns for the juvenile at this time.

             ...

             16. The Court finds that Respondent Mother should obtain
             and maintain stable housing and employment.




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17. Respondent Mother is not employed. Respondent
Mother stays home to care for the juvenile. Respondent
Mother is diligently searching for employment.
Respondent Mother has re-engaged with therapy at KV
Consultants. Respondent Mother maintains contact with
the Department and makes herself available to the
Department.

18. Respondent Mother provided sworn testimony on
today’s date. Based on her testimony, the Court finds the
following: Respondent Mother had a job interview at
Publix yesterday. She is making attempts to obtain
employment.

19. Ms. Henry was present on today’s date and provided
sworn testimony. Based on her testimony, the Court finds
the following: Respondent Mother resides in her home;
however, Respondent Father does not reside in [] the home.
Respondent Mother is actively searching for her own
residence. The dog that was previously at issue has been
given to a family member and is no longer in the home.

...

24. The Court finds that Respondent Parents and the
juvenile are bonded. There are no safety concerns with the
juvenile remaining with Respondent Parents.

...

26. Pursuant to N.C. Gen. Stat. § 7B-903, the Guardian ad
Litem requested custody of the juvenile be granted to the
Department due to safety concerns of the Respondent
Mother’s home. Said motion was denied. The Court finds
that there is [sic] no immediate safety concerns for the
minor child and the Respondent Mother continues to
provide care for this minor child appropriately.

27. That the Court finds that legal and physical custody of
the juvenile should remain with the Respondent Parents at


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                                         Opinion of the Court



                this time. The juvenile should remain placed in the home
                with Respondent Parents.

Although the court found that the Department “ha[d] made reasonable efforts to

identify and notify relatives as potential resource [sic] for placement or support of the

juvenile[,]” the court made no findings related to Ms. Henry’s availability or

suitability as an alternative child care arrangement.

                       E. The Trial Court’s Dependence Adjudication

        As the trial court’s findings demonstrate, the primary basis for the trial court’s

adjudication of Madeline as dependent was Respondent’s lack of “suitable and stable

housing[.]” Indeed, the court’s repeated references to the stable housing issue in its

findings demonstrate that Respondent’s lack of employment was at most a secondary

basis for the trial court’s dependence adjudication. As noted previously, the court

made no findings related to Ms. Henry’s availability or suitability as an alternative

child care arrangement despite Ms. Henry’s testimony that Respondent had

contacted her one month prior to Madeline’s birth to ask Ms. Henry “if anything

happens because of my other two kids will you be able to take my child[,]” and Ms.

Henry “said yes.”2 The absence of findings related to the availability and suitability

of alternative care arrangements for Madeline, such as with Ms. Henry, the



        2 By contacting Ms. Henry and moving into her home before Madeline was born, Respondent
took the requisite action to identify a viable appropriate alternative child care arrangement for
Madeline. See, e.g., In re L.H., 210 N.C. App. 355, 364, 708 S.E.2d 191, 197 (2011) (“parent must have
taken some action to identify viable alternatives,” such as by identifying a relative willing and able to
care for the child, “in order for a parent to have an appropriate alternative child care arrangement”).

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alternative care arrangement sought out by Respondent before Madeline’s birth, by

itself requires that the trial court’s adjudicatory and dispositional orders be reversed.

See In re B.M., 183 N.C. App. at 90, 643 S.E.2d at 648.

       The question then becomes whether remand is necessary in this case, which

turns on whether Respondent’s housing situation, coupled with her lack of

employment, rendered Respondent unable to provide for Madeline’s care or

supervision, thus meeting the first part of the two-part definition of dependence

under N.C. Gen. Stat. § 7B-101(9). We hold that it did not. The trial court’s findings

of fact did not support the adjudication of neglect because there was no finding, nor

was there the requisite “clear and convincing competent evidence,” In re Helms, 127

N.C. App. at 511, 491 S.E.2d at 676, to support a finding that Respondent would not

be able to continue living with Ms. Henry for an extended period of time. Merely

because Respondent was not a party to or identified as an occupant in Ms. Henry’s

lease, the trial court inferred that Respondent’s living situation was unstable, despite

Mses. Henry and Saleeby’s testimony to the contrary. 3                   In the absence of any

indication that Respondent was unlikely to be able to continue living with Ms. Henry

for the foreseeable future, the trial court’s conclusion that Madeline was dependent



       3  If, for example, evidence had been presented that the owner of Ms. Henry’s home had refused
to allow Respondent and Madeline to live in the home, or that the owner did not intend to agree to
renew Ms. Henry’s lease at some point in the near future, and findings to this effect were made by the
trial court, the conclusion that Respondent was unable to provide for Madeline’s care or supervision
could have followed from the fact that Respondent was “residing with a friend but [was] not lawfully
on the lease.”

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was not supported by the court’s findings of fact related to her lack of employment

and unstable housing because these findings did not establish that Respondent was

“unable to provide for [] [Madeline’s] care or supervision[.]” N.C. Gen. Stat. § 7B-

101(9) (2019). “Thus, the trial court failed to find the ultimate facts essential to

support its conclusions of law.” In re V.B., 239 N.C. App. at 343, 768 S.E.2d at 869

(internal marks and citation omitted). Because “all of the evidence and findings of

fact indicate that the juvenile[] [is] living with a parent who is willing and able to

provide for [her] care and supervision, the juvenile[] simply cannot be adjudicated

dependent.” In re H.H., 237 N.C. App. at 439, 767 S.E.2d at 352 (emphasis in original

omitted).

                                   III. Conclusion

      We reverse the orders of the trial court because they did not include findings

related to the availability and suitability of alternative care arrangements for the

minor child and because the findings related to Respondent’s unstable housing and

lack of employment did not support the court’s adjudication of dependence.

      REVERSED.

      Judges ZACHARY and BERGER concur.




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